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                                                                    FILED
                                                                    10/21/2021
                                                                    Timothy W Fitzgerald
                                                                    Spokane County Clerk




     5

     6

     7
                      SUPERIOR COURT OF WASHINGTON FOR SPOKANE COUNTY
     8

            MARY BELSBY, as Personal Representative           NO.     21-2-03049-32
     9
            of the Estate of SIIELL BELSBY
    10                                                         COMPLAINT FOR DAMAGES
                      Plaintiff,                               FOR PERSONAL INJURIES AND
    11                                                         WRONGFUL DEATH AND
            V.                                                 DEMAND FOR JURY TRIAL
    12
            CHEVRON U.S.A., INC.; CHEVRON
    13      PHILLIPS CHEMICAL COMPANY LP;
            ST. JOHN HARDWARE & IMPLEMENT
    14      CO., INC.; SYNGENTA CROP
            PROTECTION, LLC; and SYNGENTA
    15      AG;

    16                Defendants.

    17
                 COMES NOW Pla.intiff Mary Belsby, in her capacity as Personal Representative of the
    18
         Estate of Shell Belsby, by and throngh her undersigned attorneys, and files this, Plaintiff's
    19
         Complaint for Damages and Deinand for Jury Trial, against Defendants CHEVRON U.S.A., INC.;
    20
         CHEVRON PHILLIPS CHEMICAL COMPANY LP; ST. 70HN HARDWARE & IMPLEMENT
    21
         CO., INC.; SYNGENTA CROP PROTECTION, LLC; and SYNGENTA AG, and alleges the
    22
         following:
    23


          COMPLAINT FOR DAIoIAGES FOR PERSONAL                   1.Aw OFFICE OF .>S1DREw S. B1VIAlYO, PL.LC
                                                                            IJi: N. MONROE SIIlEET, SULIEiiZS5
          IN7[.IRIE3 AND WRONGFCIL DEATEI AND POR                             SPOKLqE, F~ASFUNGTON B9?AI
          DEMeWD FOR JURY TRIAL — I                                      (.51191?5z_1gi 1 -}'.9cISIrvt1I1; (ian) 3z&s2as




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     1
                   1.      Paraquat is a synthetic chetnical compound' that since the tnid-1960s has been
     2     developed, registered, manufactured, distributed, sold for use, and used as an active ingredient in

     3     herbicide products ("paraquat") developed, registered, formulated, distributed, and sold for use in
           the United States, including the State of Washington.
     4
                   2.      Defendants are companies and successors-in-interest to companies that since 1964
     5
           have manufactured, distributed, and sold paraquat for use in Washington, acted in concert with
     6
           others who manufactured, distributed, and sold paraquat for use in Washington, or sold and used
     7     paraquat in Washington.

     8             3.      Plaintiff Mary Belsby, in her capacity as Personal Representative for the Estate of
           Shell Belsby, brrings this suit against Defendants to recover damages for personal injuries and for
     9 i
           wrongful death resulting from Shell Belsby's exposure to paraquat over many years.
    10
                                                       I.    PARTIES
    11
                   4.      Plaintiff Mary Belsby has been appointed the Personal Representative of the Estate
    12
           of Shell Belsby by order of the Spokane County Superior Court. Plaintiff brings this action on
    13
           behalf of the Estate and the Estate's beneficiaries for the survival claim and wrongful death of
    14
           Shell Belsby pursuant to RCW 4.20 eI seq.
    15
                   5.      At all relevant tiines prior to his death, Shell Belsby resided in Spokane,
    16
           Washington.
    17
                   6.      Defendants and/or their predecessors-in-interest are corporations that, at titnes I
    18
           relevant herein, manufactured, sold, supplied, specified, reqiiired, utilized, and/or distributed
    19
           paraquat2 and/or paraquat-containing products.
    20

    21
           )       Paraquat dichloride (EPA Pesticide Chemical Code 061601) or paraquat methosulfate (EPA
    22     Pesticide Chemical Code 061 C,02)_
           -       Unless the context uidicates otherwise, references in this complaint to "paraquat" include the
    23     chemical coinpound paraquat dictiloride and fonnulated herbicide products containing paraquat dichloride
           as an active ingredient.

            COMPLAINT POR DAMAGIi9 FOR PERSONAL                           LAW OFFICE OF ANDRF.W S. BIVIAPtO, PLLC:
                                                                                    1372 N. MONROE S7REET, SUCLE di2&5
            INJURIES AND WRONGFf.II. DrATI3 ,1ND POR                                  SPOKA.NE, l{'ASEQ!JG70N 99701
            DEMAND FOR JURY TR1AL - 2                                             (509) 252-1311 -FAC'SIht1LLi (309) 325-8?05




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     1             7.      Defendant Chevron'U.S.A., Inc., ("Chevron USA") is a for-profit company with its

     2     principal place of business located in San Ramon, Califomia. It and/or its predecessor-in-interest, at

     3 ( tnnes relevant herein, sold, supplied, and/or distributed defective and unreasonably dangerous

     4     paraquat products in Washington, where Shell Belsby worked with and/or around said products.

     5     Defendant Chevron USA may be served with process througli its registered agent, The Prentice-Hall

     6     Corporation Systeni, Inc., 300 .Descbutes Way SW, Ste 208, Mc-CSCI, Tumwater, Washington

     7 1 98501.

     8             8.     Defendant Chevron Phillips Chemical Company LP ("CP ChemicaP') is a for-profit

     9     coinpany with its principal place of business located in The Woodlands, Texas. It and/or its

    10     predecessor-in-interest, at times relevant herein, sold, supplied, and/or distributed defective and

    11     unreasonably dangerous paraquat products in Washington, where Shell Belsby worked with and/or

    12     around said products. Defendant CP Chemical may be served with process through its registered

    13 i   agent, C T Corporation System, 711 Capitol Way S., Ste. 204, Olyinpia, Washington 98501.

    14            9.      St. John Hardware & Implement Co., Inc. is a Washington for-profit company that,

    15     at times relevant herein, sold, supplied, and/or distributed defective and unreasonably dangerous

    16     paraquat products in Washington, where Shell Belsby w•orked with alidlor around said products.

    17     Defendant St. John Hardware & Implement Co-, Inc. may be served through its registered agent, .io

    18     Hennessy, 102 N- lst St., Fairfield, WA, 99012-

    19            10.     Syrigenta Crop Protection, LLC ("SCPLLC") is a for-profit company with its ,

    20     principal place of business located in Greensboro, North Carolina. It and/or its predecessors in

    21     interest, at times relevarit herein, sold, supplied, and/or distributed defective and unreasonably

    22     dangerous paraquat products in Washington, where Shell Belsby worked with and/or around said

    23     products. Defendant Syngenta Crop Protection, LLC may be served with process through its



            COMPLAINr rOR DAR4AGEs FOR PERSoNAL                          LAW OFFtCS OF ANDRF.w S. S1VIAlYO, PL.LC
                                                                                  I3t: N. AfONROE SII2EET, SUITEa26S
            INJI.IRIES AND WRONGFUL DLATn AND POR                                   SPOKANE, WASFIINGTON 99?01
            DEMAND POR JURY TRiAL - 3                                           (s05) 25z-1311 -FACS@fR.E (5U9) 32s-S?Os




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     1   registered agent, C T Corporation System, 711 Capitol Way S, Ste. 204, Olyinpia, Washington

     2   98501.

     3            11.    Syngenta AG ("SAG") is a foreign corporation with its principal place of business

     41 in Basel, Switzerland. As described in more detail below, SAG i.s a management holding company

     5   that owns stock or other ownership interests, either directly or indirectly, in other Syngenta Group

     6   companies, including SCPLLC. It and/or its predecessors in interest, at times relevant herein, sold,

     7   supplied, and/or distributed defective and unreasonably dangerous paraquat products in Washington,

     8   where Shell Belsby worked with and/or around said products.

     9                           II.     PERSONAL JURISDICTION & VENUE

    10            12.    Shel.1 Belsby was exposed to paraquat-containing products in the state of

    11   Washington due to Defendants' tortious actions. Defendants are corporations or other business

    12   entities organized under the laws of the various states of the United States, including the State of

    13   Waslungton, that were and/or are doing business in the State of Washington and/or were

    14   participating in a concert-of-action that was or is located or conducted in or through Washington

    15   and/or had effects in Washington, including, but not limited to, the violation within the state of its

    16 I laws and regulations.

    17            13-    The Court has general jurisdiction over Defendant St. John Hardware & Implement

    18   Co., Inc. because it is incorporated in Washington and has its principal place of business in

    19   Washington.

    20            14.    The Court has specific jurisdiction over the remaining Defendants because they

    21   each (1) purposefully performed acts or consummated transactions in Washington, including

    22   business directly related to Plaintiff's allegations herein; (2) Plaintiff's cause of action arises out

    23   of and/or relates to Defendants' activities and/or transactions in Wasbington; and/or Defendants



          COMPLAINT FOR DAA4A<iHs FOR PHRSONAL                          LAW OFFICF OF ANDRF.W S. RIVIANO, PL.LC
                                                                                 I3{2N. MONROE STHEE'1', SUrrE i('85
          INJURIE3 AAID WRONGFCIL DLATII AND FOR                                   SPOKANE, R'eL4E1/NGTON 99:01
          DEIvU1ND FOR JURY TR1AL - 4                                          (s09)252-1311 -PA('SldfIIki (S09) 323-8205




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     1       coinmitted a tortious act that caused or contributed to Shell Belsby's exposure to paraquat in

     2       Washington; (3) said activities or transactions were directed in whole or in part toward the state;

     3       and (4) assumption of jurisdiction over such out-of-state defendants by ttus Court does not offend

     4       traditional notions of fair play and substantial justice.

     5               15.     Furthennore, each Defendant: (A) (1) regularly does or solicits (and/or during the

     6       relevant time period, did or solicited) business; (2) engages (and/or during the relevant tinie period

     7       engaged) in one or more other persistent courses of conduct, including conduct related to Plaintiff's

     8       allegations hereitl; and/or (3) derives (and/or during the relevant tnne period derived) substantial

     9       revenue from goods used or consumed or services rendered in the state, including from products

    10       and/or services at issue herein; and/or (B) expected or should reasonably have expected (and/or

    11       during the relevant time period expected or should have reasonably expected) its acts to have
         t
    12       conaequence in Wash.ington and derives (and/or during the relevant time period derived)

    13       substantial revenue froln interstate or international commerce.

    14               16.     Vetiue is appropriate in Spokane County pursuant to RCW 4.12.020 and 4.12.025

    15       because certain Defendants reside in Spokane County, Washington; currentty transact business in

    16       Spokane County; and/or transacted business at the time the cause of action arose in Spokane

    17       County. For example, Defendants Chevron USA and/or CP Chemical currently own and/or

    18       operate multiple filling stations in Spokane County.

    19                                                  I1I.    FACTS

    20       A.     Defendants and Their Coraorate Predecessors

    21              1.       Syngenta Entities

    22              17.      hi 1926, four Britisli chemical companies merged to create the British company

    23       that then was known as lmperial Chemical Industries Ltd. and ultirnately was known as Imperial.

             Chemical Industries PLC ("ICI"). In or about 1971, ICI created or acquired aNvholly owned U.S.
              COMPLAR3T FOR DA141ACP.S POR PERSONAL                        LAlV OFFICF: OF ANDRFw S. n1N7AN0, P11.0
                                                                                      1372 N. MOY&OE STIiEET, SUIIE ii265
              INJI.IRIEB AND WRONGF'UL DLATH AND POR                                    SPGK4NE, R'ASHItJG70N 49201
              DEMAND FOR JIJRS' TR1AL - 5                                          ('5U9) 252-Lzt I- FACSIMl.fi (5U9) 32k-82q5




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     1    subsidiary organized under the laws of the State of Delaware, which at various times was known

     2    as Atlas Chemical lndustries Inc.,1CI Nortli America Inc., ICl America Inc_, and ICI United States

          Inc., and ultimately was known as ICl Americas Inc. (collectively, "ICl Americas"). In or about

          1992, 1CI merged its pharmaceuticals, agrochemicals, and specialty chemicals businesses,

          including the agrochelnicals business it had operated at one time through a wholly owned British

         I subsidiary known as Plant Protection Ltd_ and later as a division within IGI, into a wholly owned

     7' I British subsidiary known as ICI Bioscience Ltd. In 1993, ICI demerged its pharmaceuticals,

     81 agrochelnicals, and specialty chemicals businesses, from which it created the Zeneca Group, with

     9    the British company Zeneca Group PLC as its ultirnate parent company.

    10            18.    As a result of ICI's demerger and creation of the Zeneca Group, ICI Bioscience

    11    Ltd. was demerged from ICI and merged into, renamed, or continued its business under the same

    12    or similar ownership and manageinent as Zeneca Ltd., a wholly owned British subsidiary of

    13    Zeneca Group PLC. Before ICI's demerger and creation of the Zeneca Group, ICI had a Central

    14    Toxicology Laboratory that performed and hired others to perfoim bealth and safety studies that

    15    were submitted to the U.S. Depaf-tment of Agriculture ("USDA") atid the U.S. Environmental

    16    Protectiofz Agency ("EPA") to secure and maintain the registration of paraquat and other pesticides

    17    for use in the United States.

    18            19.    As a result of ICI's demerger and creation of the Zeneca Group, ICI's Central

    19    Toxicology Laboratory becarne Zeneca Ltd.'s Central Toxicology Laboratory.                              After ICI's

    20    defnerger and creation of the Zeneca Group, Zeneca Ltd.'s Central Toxicology Laboratory

    21    continued to pei-fonn atid bire otliers to perform health and safety studies that were submitted to

    22 1 EPA to secure and maintain the registration of paraquat and other pesticides for use in the United

    23 1 States. As a result of ICI's demerger and creation of the Zeneca Group, ICI Americas was



           COMPLAINT FOR DAMAGI3S POR PERSONAL                        LAW OFFICE OF ANDRF,W S. BIVIANO, PLLC
                                                                                131] N. MONROE STREET, SUCIE ii2S5
           INJURIES AND WRONGFCJL DEATH AND FOR                                   SPOKANE, WASIIING70N 99'_01
           DEMAND FOR 1URY TR1AL - 6                                          (509) 252-I311 - F'AC:SI,WI.E (509) 328-fi^_05




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     1        delnerged froin ICI and merged into, renamed, or continued its business under the same or similar

     2        ownership and management as Zeneca, lnc. ("Zeneca"), a wholly owned subsidiary of Zeneca

     3        Group PLC orgaiiized under the laws of tlie State of Delaware.

     4               20.     hi 1996, the Swiss pharmaceutical atid chemical coinpanies Ciba-Geigy Ltd. and

     5        Sandoz AG merged to create the Novartis Group, with the Swi.ss company Novartis AG as the

     6        ultimate parent company. As a result of the merger that created the Novartis Group, Ci.ba-Geigry

     7        Corporation, a wholly owned subsidiary of Ciba-Geigy Ltd. organized under the laws of the State

     8        ofNew York, was merged into, or continued its business under the same or similar ownership and

     9 ( management as Novartis Crop Protection, Inc. ("NCPI"), a wholly owned subsidiary of Novartis

    10 ( AG organized under the laws of the State of Delaware.

    1I'              21.     In 1999, the Swedish pharmaceutical company Astra AB merged with Zeneca

    12 ' Group PLC to create the British conipany AstraZeneca PLC, of which Zeneca Ltd. and Zeneca

    13' were wholly owned subsidiaries. hi 2000, Novartis AG and AstraZeneca PLC spun off and merged

    1.4 I the Novartis Group's crop protection and seeds businesses and AstraZeiieca's agrochemicals

    15 I business to create the Syngenta Group, a global group of companies focused solely on

    16        agriblisiness, with. Defendant SA.G as the ultimate parent company.

    17               22.     As a result of the Novartis/AstraZeneca spinaf.f and merger that created the

    18        Syngenta Group, Zeneca Ltd. was merged into, renamed, or continued its business under the same

    19        or similar ownership and management as Syngenta Ltd., a wholly owned British subsidiary of

    20        SAG; and Zeneca Ltd.'s Central Toxicology Laboratory became Syngenta Ltd.'s Central
          I
    21        Toxicology Laboratory. Since the Novartis/AstraZeneca spinoff and merger that created the

    22        Syngenta Group, Syngenta Ltd.'s Central Toxicology Laboratory has continuzd to perform and

    23


              COMPLAINr FOR DAMA(iPS POR PERSONAL                        LAW OFFICT: OF ANDREw S. BIVIAIYO,'PI..LC
                                                                                    131? N. MONROE STREET, SUrfE'iiZSS
              INRURIES AtvD WRONCirUL DLATE3 AND FOR                                   SPOK4NE. W'ASIIINGTON 99?01
              D&MAND FOR JURY TR1AL - 7                                         ('.51)9) 252-f311 - FA('S1MR,Ci (:q9) 72&8205




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     1    hire others to perform health and. safety studies for submission to the EPA to secure and maintain

     2    the registration ofparaquat and other pesticides for use in the United States.

     3           23.       As a result of the Novartis/AstraZeneca spinoff and merger that created the

     4    Syngenta Group, NCPI and Zeneca were merged into and renamed, or continued to do their

     5    business nnder the same or similar ownership and managelnent, as Syngenta Crop Protection, Inc.

     6    ("SCPI"), a wholly owned subsidiary of SAG organized under the laws of the State of Delaware.

     7    In 2010, SCPI was converted into Defendant SCPLLC, a wholly owned subsidiary of SAG

     8    organized and existing under the laws of the State of Delaware writh its principal place of business

     9    in Greensboro, North Carolina.

    10           24.       As a restilt of these various transactions, discussed .siepra:

    1"I                •   SAG is a successor by merger or continuation of business to its corporate
                           predecessor Novartis AG;
    12
                       •   SAG is a successor by merger or continuation of business to its corporate
    13                     predecessor AstraZeneca PLC;

    14                 •   SAG is a successor by tnerger or continuation of business to its corporate
                           predecessor Zeneca Group PLC;
    15
                       •   SAG is a successor by merger or continuation of business to its corporate
    16                     predecessor Iinperial Chemical Industries PLC, previously known as Imperial
                           Chemical Industri.es Ltd.;
    17
                       •   SAG is a successor by merger or continuation of business to its corporate
    18                     predecessor ICI Bioscience Ltd.; and
    19                 .   SAG is a successor by lnerger or continuation of business to its corporate
                           predecessor Plant Protection Ltd.
    20
                 25.       Additionally, as a result of these various transactions, discussed supra:
    21
                       •   SCPLLC is a successor by Inerger or continuation of business to its corporate
    2z                     predecessor SCPI;
    23                 •   SCPLLC is a successor by merger or colitinuation of business to its corporate
                           predecessor N CPI;

           COMPI.AINT POR DAA4AGr8 POR P£sRsoNAL                           I.Aw oFr•Icf; Or ANDREW S. RIVIMTO, PI.1,C'
                                                                                     1312 N. MOWR0657REET, SUILEu2S5
           IN7URIES AND WRONGFUL DLATE3 AND POR                                        SPGKANE, WASEffNG70N 99201
           DHMAND FOR JURY TRIAL - 8                                               (54K) 2sz-ui i• txcSiMI[,cs (5q9) s2&4as




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      1
                                •   SCPLLC is a successor by merger or continuation of business to its corporate
      2'                            predecessor Ciba-Geigy Corporation;

      3'                        •   SCPLLC is a successor by merger or continuation of business to its corporate
                                    predecessor Zeneca Inc.; and
      4'
                                •   SCPLLC is a successor by merger or continuation. of business to its corporate
      51                            predecessor ICl Americas Inc_, previously known as Atlas Chemical Industries Inc.,
                                    ICI North Alnerica Inc., ICI Alnerica Inc., and ICI United States .Inc.
      61
                          26.       SCPLLC is registered to do business in the State of Washington, and SCPLLC does
      71
                  substantial business in the State of Wasliington, including the following:
      8

                                a. markets, advertises, distributes, sells, and delivers paraquat and other pesticides to
      9 li                         distributors, dealers, applicators, and fanners in the State of Washington;
          ~
     10                         b. secures and maintains the registration of paraquat and otlier pesticides with the EPA
          %
                                   and the Wasbington Department of Agriculture to enable itself and others to
     11 ,                          manufacture, distribute, sell, and use these products in the State of Washington; and
          i
     12                         c. performs, hires others to perform, and funds or otherwise sponsors or otherwise
                                   funds the testing of pesticides in the State of Washington.
     13
                          27.       SAG is a foreign corporation orgailized and existing under the laws of Switzerland,
     14
                  with its principal place of business in Basel, Switzerland. SAG is a holding company that owns
     15
                  stocic or other ownership interests, either directly or indirectly, in other Syngenta Group
     16
                  companies, including SCPLLC. SAG is a manageinent holding company.
     17
                          28_       Syngenta Crop Protection AG ("SCPAG"); a Swiss corporation with its principal
     18
                  place of business in Basel, Switzerland, is one of SAG's direct, wholly owned subsidiaries.
     19
                  SCPAG einploys the global operational managers of production, distributioti, and marketing for
     20
              ~   the Syngenta Group's Crop Protection ("CP") and Seeds .Di.visions. The Syngenta Group's CP
     21
                  and Seeds Divisions are the business units through ivhich SAG manages its CP and Seeds product
     22
                  lines. The Syngenta Group's CP and Seeds Divisions are not and have never been corporations or
     23
                  other legal entities.

                   COF4fPLAINT POR DAi.fAGHs POR PERSONAL                        LAW OFF1C'F: OF ANDREw S. BIVIANO, PL.LC
                                                                                          3312 N. MONROE S71tEL•'1', SUrrE4285
                   INJURIGS AND WRONGFUL DLAT[1 AND f oR                                    SPOKSNE, WASFIING70N 99201
                   DEMAND FOR JURY TRIAL - 9                                             (50.1121111. FAC1IMCC:(509) 32&-d^tl5




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      1                 29.      SCPAG directly and wholly owns Syngenta International AG ("SIAG"). SIAG is

      2         the "nerve center" through which SAG manages the entire Syngenta Group. SIAG employs the

      3         "Heads" of the Syngetita Group's CP and Seeds Divisions. SIAG also einploys the "Heads" and

      4         senior staff of various global functions of the Syngenta Group, including Human Resources,

      5         Corporate Affairs, Global. Operations, Research and Development, Legal and Taxes, and Finance.

      6         Virtually all of the Syngenta Group's global "Heads" and their senior staff are housed in the same

      7         office space in Basel, Switzerland.

      8                 30.      SAG is the indirect parent of SCPLLC through multiple layers of corporate

      9         ownership:

     10                       a. SAG directly and wholly owns Syngenta Parti.cipations AG;

     11                       b. Syngenta Participations AG directly and wholly owns Seeds JV C.V.;

     12                       c. Seeds JV C.V. directly and wholly owns Syngenta Corporation;

     13                       d. Syngenta Corporation directly and wholly owrts Syngenta Seeds, LLC; and

     14                       e. Syngenta Seeds, LLC directly and wholly owns SCPLLC.
            I
     15 I               31.      Before SC.PI was cotrverted to SCPLLC, it was incorporated in Delaware, had its

     16         principal place of business in North Carolina, and had its own board of directors. SC.PI's sales

     17         accounted for more than 47% of the sales fo.r the entire Syngenta Group in. 2019.

     18                 32.      SAG has purposefully organized the Syngenta Group, including SCPLLC, in such

     19         a way as to attempt to evade tlie authority of courts in jurisdictions in which it does substantial

    20          business. Although the formal legal structure of the Syngenta Group is designed to suggest

    21          otherwise, SAG in fact exercises an unusually high degree of control over its country-specitic

    22          business units, including SCPLLC, through a"matrix management" system of functional

    23          reporting to globai "Product Heads" in charge of the Syngenta Group's unincorporated Crop


                 COMPLAINT POR DAR4ACiI38 FOR PFRSONAL                      1.Aw OFFICE OF ANnRF.w S. RIVIANO, PLLC
                                                                                      131? F. MUNROE STREE.r, SUICE9i285
                 IN7I.IRIES AND WRONGPCIL DLATEi ,AND FOR                               SPOKA.NE. W'ASffiNGZOA* 99201
                 DFIvL1ND FoR JURY TR1AL - 10                                       (509)2,52-Liil -FA('SIMII.I:i(>00)32S$205




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              Protection and Seeds Divisions, and to global "Functional Heads" in charge of human resources,

              corporate affairs, global operations, research and development, legal and taxes, and finance.

                      33.      The lines of authority and control within the Syngenta Group do not follow its

              formal legal structure, but instead follow this globai "functional" managernent structure. SA.G

              controls the actions of its far-flung subsidiaries, including SCPLLC, through this global

              "functional" management structure.        SAG's board of directors has established a Syngenta

              Executive Cominittee ("SEC"), which is responsible for the active leadership and the operative

              management of the Syngenta Group, including SPLLC. The SEC consists of the CEO and various

              global Heads, which currently are:

                            a. The Chief Executive O.fficer;

     11                     b. Group General Counsel;

     12                     c. The President of Global Crop .Protection;

     13                     d. The Chief Financial Officer;

     14                     e. The President of Global Seeds; and

     15 ;                   f. The Head of Human Resources;
          i

     16               34.      SIAG employs all members of the Executive Committee.

     17               35.      Global Syngenta Group corporate policies require SAG subsidiaries, including

     18       SPLLC, to operate under the direction and control of the SEC and other unincorporated global

     19       management teams. SAG's board of directors meets five to six times a year- In contrast, SCPI's

     20       board of directors rarely met, either in persoii or by telephone, and met only a handful of times

    21        over the last decade before SCPI became SCPLLC.

    22               36.       Most, if not a11, of the SCPI board's formal actions, including selecting and

    23        removing SCPI officers, were taken by unanimous written consent pursuant to directions from the



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      1       SEC or other Syngenta Group global or regional managers that were delivered via e-mail to SCPI

     2        board members. Since SCPI became SCPLLC, decisions that are iioininally made by the board or

     3        managers of SCPLLC in fact continue to be directed by the SEC or other Syngenta Group global

     4        or regional rnanagers. Similarly, Syngenta Seeds,lnc.'s board of directors appointed and removed

      5       SCPI board members at the direction of the SEC or other Syngenta Group global or regional

      6       managers. Since SCPI became SCPLLC, the appointnient and removal of the manager(s) of

      7       SCPLLC continues to be directed by the SEC or other Syngenta Group global or regional

      8       managers.

      9              37.     The management structure of the Syngenta Group's CP Division, of which I

     10       SCPLLC is a part, is not defined by legal, corporate relationships, but by functional reporting I

     11       relationships that disregard corporate boundaries. Atop the CP Division is the CP Leadership
          i
     12       Team (or another body with a different name but substantially the same composition and

     13       functions), which includes the President of Global Crop Protection, the CP region Heads (including

     14       SCPLLC President Vern Hawkins), and various global corporate function Heads.                               Tlie CP

     15 ILeadership Team meets bi-inonthly to develop strategy for new products, markets, and operational

     16       effi.ciencies and to monitor perfonnance of the Syngenta Group's worldwide CP business.

     17              38_     Under the CP Leadership Team are regional leadership teains, including the North

     18       Arnerica Regional Leadership Team (or another body with a dif.ferent narne but substantially the

     19       saine composition and functions), whicli oversees the Syngenta Group's U.S. and Canadian CP

     20       business (and, when previously known as the NAFTA Regional Leadership Team, also oversaw

     21 I the Syngenta Group's Mexican CP business). The North. Ainerica Regional Leadership Team is

     22 I chaired by SCPLLC's president and includes employees of SCPLLC and the Syngenta Group's

     23


               COMPLAINT FOR DAMA<iHS POR PERSONAL                        I.Aw (>FF10E OF AIVDRfiw S. BIViAlYO, PLLC
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               DEMAND FOR 1URY TR1AL - 12




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      1   Canadian CP company (and when previously known as the NAFTA Regional Leadership Team,

      2   also included employees of the Syngenta Group's Mexican CP company).

      3           39.      The Syngenta Group's U.S. and Canadian CP companies, including SCPLLC,

      4    report to the North America Regional Leadership Team, which reports the CP Leadership Team,

      5   which reports to th.e SEC, which .reports to SAG's board of directors. Some members of the North

      6   America Regional Leadership Team, including sonie SCPLLC employees, report or have in the

      7    past reported not to their nominal superiors within the companies that employ them, but directly

      8   to the Syngenta Group's global Heads. Syngenta Group global Heads that supervise SCPLLC

      9   ernployees participate and have in the past participated in the perfonnance reviews of these

     10   einployees and in setti.ng their compensation.

     11           40.      The Syngenta Group's functional reporting lines have resulted in employees of

     12   companies, including SCPLLC, reporting to officers of remote parent companies, officers of

     13   affrliates with no corporate relationship other than through SAG, or officers of subsidiary

     14 I coinpanies. SCPLLC performs its functions according to its role in the CP Division structure:

     15                 a. CP Division development projects are proposed at the global level, ranked, alid
                           fimded at the global level after input from functional entities such as the CP
     16                    Leadership Team and the North America Regional Leadership Team, and gi.ven
                           final approval by the SEC;
     17
                        b. New CP products are developed by certain Syngenta Group companies or
     18                    functional groups that Inanage and conduct research and developinent functions for
                           the entire CP Division;
     19
                        c. These products are then tested by other Syngerlta Group companies, including
     20                    SCPLLC, under the direction and supervision of the SEC, the CP Leadership Tealn,
                           or other Syngenta Group global luanagers;
     21
                        d. Syngenta Group companies, including SCPLLC, do not contract with or
     22                    compensate each other for this testing;

     23


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      1                  e. Rather, the cost of such testing is included in the testing companies' operating
                            budgets, which are established and approved by the Syngenta Group's global
      2                     product developrnent managers and the SEC;

      3                  f. If a product shows promise based on this testing and the potential markets for the
                            product,.either global or regional leaders (depending on whether the target rnarket
      4                     is global or regional), not individual Syngenta Group coinpanies such as SCPLLC,
                            decide whether to sell tlie product;
      5
                         g- Decisions to sell the product must be approved by the SEC; and
      6
                         h. The products that are sold all bear the sarne Syngenta trademark and logo.
      7
                   41.      SCPLLC is subject to additional oversight and control by Syngenta Group global
      8
            managers through a system o.f "reserved powers" established by SAG and applicable to all
      9
            Syngenta Group companies. These "reserved powers" require Syngenta Croup companies to seek
     10
            approval for certain decisions from higlier levels witliin the Syngenta Group's functional reporting
     lt
            structure. For example, although SAG permits Syngenta Croup companies to handle small legal
     12 '
            matters on their own, under the "reserved powers" systei.n, SAG's Board of Directors must approve
     13
            settlements of certain types of lawsuits against Syngenta Group companies, including SCPLLC, if
     14 I
            their value exceeds an amount specified in the "reserved powers_"
     15
                   42.      Similarly, the appointments of senior managers at SCPLLC must be approved by
     16
            higher levels than SCPLLC's own rnanagement, board of directors, or even its direct legal owner.
     17
            Although SCPLLC takes the formal action necessary to appoint its own senior managers, this
     18
            formal aetion is in .fact merely tlie rubber-staniping of decisions that have already been made by
     19
            the Syngenta Group's global managenient.
    20
                   43.      Although SAG subsidiaries, including SCPLLC, pay lip service to legal formalities
    21
            that give the appearance of authority to act independently, in practice many of their acts are
    22
            directed or pre-approved by the Syngenta Group's global management. SAG and the global
    23



            COMPLAINT FOR DAMAOES POR PERSONAL.                          LAW OFFICE OF ANDREW S. RiVIALVO, PLLC
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      1     management of the Syngenta Group restrict the authority of SCPLLC to act independently in areas

      2 I including:

      3                  a. Product development;

      4                  b. Product testing (among other things, SAG and the global management of the
                            Syngenta Group require SCPLLC to use Syngenta Ltd.'s Central Toxicology
      5                     Laboratory to design, perform, or oversee product safety testing that SCPLLC
                            submits to the EPA in support of the registrations ofparaquat aiid otlier pesticides);
      6
                         c. Production;
      7
                         d. Marketing;
      8
                         e. Sales;
      9
                         f. Human resources;
     10 ~
                         g. Communications and public affairs;
     il
                         h. Corporate structure and ownership;
     12
                         i.   Asset sales and acquisitions;
     13
                         j.   Key appointments to boards, committees, and management positions;
     14
                         k. C,ompensation packages;
     15
                         1.   Training for high-level positions; and
     16
                         m. Finance (including day-to-day cash management) and tax.
     17
                   44.        Under the Syngenta Group's functional management system, global managers
     18 1
            initiate, and the global .Head of Hmnan Resources oversees international assignments and
     19
            compensation of managers empl oyed bv one Syngenta snbsidiary to do teinporary work for another
    20
            Syngenta subsidiary in another country. This intemational assignment program aims, in part, to
    21
            improve Syngenta Group-wide succession planning by developing corporate talent to make
    22
            employees fit for higher positions within the global Syngenta Group of companies. Under this
    23
            international assignment program, at the instance of Syngenta Group global managers, SC,PLLC

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      1   officers and employees have been "seconded" to work at other SAG subsidiaries, and officers and

      2   employees of other Syngenta Group subsidiaries have been "seconded" to work at SCPLLC.

      3           45.     The Syngenta Group's functional management system includes a central global

      4   finance functi.on—known as Syngetita Group Treasury—for the entire Syngenta Group. The

      5   finances of all Syngenta Group companies are governed by a global treasury policy that

      6   subordinates the fi.nan.cial interests of SAG's subsidiaries, including SCPLLC, to the interests of

      7   the Syngenta Group as a whole. Under the Syngenta Group's global treasury policy, Syngenta

      8   Group Treasury controls daily cash sweeps from subsidiaries such as SCPLLC, holds the cash on

      9   account, and lends it to other subsidiaries that need liquidity. The Syngenta Group's global

     10   treasury policy does not all.ow SAG subsidiaries such as SCPLLC to seek or obtain financing from

     11   non-Syngenta entities without the approval of. Syngenta Group Treasury.                       Syngenta Group

     12   Treasury also decides whether SCPLLC will issue a dividend or distribution to its direct parent

     13   coinpany, and how much that dividend will be. SCPLLC's board or managernent approves

     14   dividends and distributions mandated by Syngenta Group Treasury without any meaningful

    15    deliberation.

    16            46.     In 2011, a federal.District Court held that SAG's unusually high degree of control

    17    over SCPLLC made SCPLLC the agent or alter ego of SAG and therefore subjected SAG to

    18    jurisdiction in the State of illinois_ See City of Greetville, 111. v. Syngeiata Crop Protection, brc.,

    19    830 F. Supp. 2d 550 (S.D. Ill. 2011). SAG continues to exercise the unusually high degree of

    20    control over SCPLLC. SAG, through its agent or alter ego, SCPLLC, does substantial business in

    21    the State of Washington, in the ways previously alleged as to SCPLLC.

    22            2.      Chevron Enfifies

    23            47.     Chevron Chemical Company ("Chevron Cheinical") was a corporation organized

          in 1928 under the laws of the State of Delaware. In 1997, Chevron Chemical was merged into
           COMPLAINI' FOR DANfAGl:s POR PERSONAL                        1.,1W OFFICE OF ANDRFFV S. RiViANO, P11.0
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      1   Chevron Chemical Company LLC ("Chevron Chemical LLC"), a liinited liability company

      2   organized under the laws of the State of Delaware: In the mid-2000s, Chevron Chemical LLC was

      3   merged into or continued to operate under the same or similar ownership and management as

      4   Defendant CP Chemical, a limited partnership organized and existing under the laws of tlle State

      5   of Delaware with i.ts principal place of business in The Woodlands, Texas.

      6           48.     As a resnit of these various transactions, discussed sripra, CP Chemical is a

      7   successor by merger or continuation of business to its corporate predecessor Chevron Chemical

      8   LLC; and CP Chemical is a successor by merger or continuation of business to its corporate

      9   predecessor Chevron Cheinical-

     10           49.     C:P Chemical is registered to do business in the State of Washington, and does

     11   substantial business in the State of Washington, including Spokane County; among other tbings,

     12   it owns and/or operates numerous filling stations in Spokane County.

    13            50.    Defendant Chevron USA is a corporation organized and existing under the laws of

    14    the State of Pennsylvania, with its principal place of business in the State of Califomia. Chevron

    15    USA is registered to do business in Washington. ln the mid-2000s, Chevron USA entered into an

    16    agreement in which it expressly assumed the liabilities of Chevron Chemical and Chevron

    17    Chemical LLC arising from Chevron Chemical's then-discontinued agrichernical business, which

    18    included the design, registration, inannfacture, fomiulation, packagin.g, labeling, distribution,

    19    marketing, and sale of paraquat products in the United States as alleged in this Complaint.

    20           3.      St. John Hardware & Implement Co., Inc.

    21           51.     Defendant St. John Hardware & Implenient Co., Inc. is a Washington company. I

    22    During the relevant time period, St- John Hardware & hnplement Co., Inc. maintained a retail

    23    location in or around Fairfield, Washington, where it sold and/or mixed, iriter alia, paraquat-

          containing herbicides.
           COMPLAINT FOR DAMAGES FOR PERSONAL                         LAW OFF1C'E OF ANDREw S. R1VIAlYO, PLLC
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          1        B.     Paraauat Manufaetnre, Distribution, and Sale

          2               52.       ICT, a legacy company of Syngenta, claims to.have discovered the herbicidal

          3        properties of paraquat in 1955. The leading maiiufacturer of paraquat is Syngenta, which (as IC.I)

          4        developed the active ingredient in paraquat in the early 1960s.

          5               53.       ICI produced the ftrst coinmercial paraquat formulation and registered it in England

          6        in 1962. Paraquat was first marketed in 1962 under the brand naine Grainoxone. Paraquat first

          7        becaine commercially available for use in the United States in 1964.

         8                54.       In or about 1964, ICI and Chevron Chemical entered into agreements regarding the

         9         licensing atid distribution of paraqliat ~"tbe ICI-Chevron Chemical A>reements"
                                                                                        b         ) . In or about

         10        1971, ICI Ainericas became a party to the ICI-Chevron Chemical Agreements on the same terms

        11         as ICI. The ICI-Chevron Chemical Agreements were renewed or otherwise remained in effect

        12         untii about 1986.

        13                55.       Tn the ICI-Chevron Chemical Agreements:

        14                      •   ICI and ICl Americas granted Chevron Chemical a license to their patents and
                                    technical information to permit Chevron Chemical to formulate or have formulated,
        15                          use, and sell paraquat in the Un.ited States and to grant sub-licenses to others to do
                                    so;
        16
               i                e   Chevron Cheinical granted 1CI and ICI Americas a license to its patents and
        17                          technical information to pennit ICI an.d .TCI Americas to formulate or have
                                    formulated, use, and sell paraquat throughout the world and to grant sub-licenses
        18                          to others to do so;

        19                      •   ICI and ICI Americas and Chevron Chemical agreed to exchange patent and
                                    techni.cal infonnation regarding paraquat;
        20
                                •   TCI and ICI Americas granted Chevron Chemical exclusive rights to distribute aiid
.       21 I                        sell paraquat in the United States; and

        22                      •   ICI and ICI Americas granted Chevron Chemical a license to distribute and sell
                                    paraquat in the U.S. under the ICI-trademarked brand name Gramoxone.
        23 1



                   COMPLA[NT FOR DAMAGES FOR PF:RSONAL                            LAW OFFICE OF ANDI2EW S. RIVIANO, PLLC:
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                   DEMAND FOR JURY TR1AL - 18                                            (SIJS) 352-t311 -A4C'SIN4I.I5 (509) 72&8205




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     1           56.       ICI and ICI Arriericas and Chevron Chemical entered into the 1CI-Chevron I

     2 I Chemical Agreements to divide the worldwide market for paraquat between then. Under the ICI- I

     3 I Chevron Chemical Agreements and related agreetnents:

     4                 •   Chevron Chelnical distributed and sold paraquat in the U.S_ and ICI and ICI
                           Americas distributed and sold paraquat outside the United States;
      5
                       •   Both ICT and ICI Ainericas and Chevron Chetnical distributed and sold paraquat
      6                    under the ICI-tradeinarked brand name Grainoxone;

      7                •   10 and ICI Americas and Chevron Chemical exchanged patent and technical
                           infonuation regarding paraquat;
     8
                       •   ICI and ICl Americas provided to Chevron Chemical health and safety and efficacy
      9                    studies performed or procured by ICI's Central. Toxicology Laboratory, which
                           Chevron Chemical then submitted to the USDA and the EPA to secure and maintain
     10                    the registration of paraquat for manufacture, formulation, distribution, and sale for
                           use in the United States;
     ll
                       •   ICI and ICI Americas manufactured and sold paraquat to Chevron Chemical that
     12                    Chevron Chemical then distributed and sold in the United States, including in
                           Washington, where Chevron Chemical registered paraquat products and marketed,
     13                    advertised, and promoted them to Washington distributors, dealers, applicators, and
                           farmers; and
     14
                       •   Chevron Chemical distributed an.d sold paraquat in the United States under the iCI-
     15
                           tradeinarked brand name Gramoxone and other names, including in Washington,
                           where Chevron Chemical registered such products and marketed, advertised, and
     16                    promoted them to Washington distributors, dealers, applicators, and farmers.
     17          57.       SAG, its corporate predecessors, and others with whom they acted in concert have
     18   manufactured, formulated, distributed, and sold paraquat for use in the United States from
     19   about 1964 through tlie present, and at all relevant times intended or expected their paraquat
     20   products to be distributed and sold in Washington, where they registered such products, and
     21   marketed, advertised, and promoted them to Washington distri:butors, dealers, applicators, and
     22   farmers_
     23



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      1             58.    SAG, its corporate predecessors, and others with whom they acted in concert have

      2     submitted health and safety and efficacy studies to tlie USDA and the EPA to support the

      3     registration of paraquat for manufacture, fonnulation, distribution, and sale for use in the United

      4     States from approxiinately 1964 through the present.

      5             59.    SCPLLC, its corporate predecessors, and others with whom they acted in concert

      6     have manufactured, formulated, distributed, and sold paraquat for use in the Un.ited States from

      7     about 1971 througb the present, and at all relevant tinies intended or expected their paraquat

      8     products to be distributed and sold in. Washington, where they registered such products, and

      9 I marketed, advertised, and promoted them to Washington distributors, dealers, applicators, and

     10 ! fanners.

     11 '           60.    SCPLLC, its corporate predecessors, and others with whom they acted in concert

     12 ' have submitted health and safety and efficacy studies to the EPA to support the regi.stration of

     13     paraquat for manufacture, fonnulation, distribution, and sale for use in the U.S_ from about 1971

     14     through the present.

     15 ~          61.     Cbevrori Chemical manufactured, formulated, distributed, and sold paraquat for use

     16     in the United States from about 1964 through at least 1.986, acting in concert with IC.I and ICI

     17 I Alnericas throughout this period, including in Washington, where Chevron Chemical registered

     18     such products, and used in Washington, and marketed, advertised, and promoted thein to

     19     Washington distributors, dealers, applicators, and fanners.

     20     C.     Paraauat Usase

     21            62.     Since 1964, paraquat has been used in the U.S. to kill broadleaf weeds and grasses

     22     before the planting or emergence of inore than 100 field, fruit, vegetable, and plantation crops; to

     23     control weeds in orchards; and to desiccate (dry) plants before harvest. Paraquat is conu-nonly

            used inultiple times per year on the same land, particularly when used to control weeds in orchards
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     1        or on fanns with multiple crops planted on the same land within a single growing season or year.

     2        Such use was intended and/or directed by Defendants, and/or was reasonably foreseeable.

     3                63.     At all relevant times, paraquat that was manufactured, distributed, sold, and sprayed

     4        or caused to be sprayed by Defendants, Defendants' corporate predecessors, and otliers with whom

     -5       they acted in concert was typically sold to end-users in the fonn of liquid concentrates (and less

     6        commonly in the form of granular solids) designed to be diluted with water before or after loading

     7        it into the tank of a sprayer and applied by spraying it onto target weeds.

     8                64:     At aIl relevant times, concentrates containing paraquat that was manufactured,

     9        distributed, sold, and sprayed or caused to be sprayed by Defendants, Defendants' corporate

    10        predecessors, and others wi.th wliom they acted in concert typically were formulated with one or

    11        more "surfactants" to increase the ability of the herbicide to stay in contact with the leaf, penetrate

    12        the leaf's waxy surface, and enter into plant cells, and the accompanying instructions typically told

    13        end-users to add a surfactant or crop oil (which as typically fonnulated contains a surfactant)

    14        before use.

    15                65-     At all relevant times, paraquat typically was applied with a knapsack sprayer, hand-

    16        held sprayer, aireraft (i..e., crop duster), truck with attached pressurized tank, or tractor-draw►i

    17        pressurized tank, and such use was as intended or directed by Defendants or was reasonably

    18        foreseeable.
          i
    19        D.      Paraauat Exaosure

    20                66.     At all. relevant times, it was reasonably foreseeable that when paraquat was used in

    21        the manner intended or. directed or in a reasonably foreseeable manner, users of paraquat and

    22        persons nearby would be exposed to paraquat wliile it was being mixed and loaded into the tanks

    23        of sprayers, including as a result of spills, splashes, and leaks.



               COMPI.AINr FOR DAD4AOGs FOR PERSONAL                          LAW OFFICE OF ANDREW S. BiVIAlYO, PLLC
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      1                67.    At all relevant times, it was reasonably foreseeable that when paraquat was used in

      2        the manner intended or directed or in a reasonably foreseeable manner, persons who sprayed

      3        paraquat or were in or near areas where it was being or recently had been sprayed would be exposed

      4        to paraquat, including as a result of spray dritt, the movernent of herbicide spray droplets from the

      5        target area to an. area where herbicide application was not intended, typically by wind, and as a

      6        result of contact with sprayed plants.

      7                68.    At all relevant tirnes, it was reasonably foreseeable that when paraquat was used in

     8         the manner intended or directed or in a reasonably foreseeable rnanner, users of paraquat and

      9        persons nearby would be exposed to paraquat, including as a result of spills, splashes, and leaks;

     10        wbile equipment used to spray it was being empti.ed or cleaned, or clogged spray nozzles, lines, or
          ~i
     11        valves were being cleared.

     12               69.     At all relevant times, it was reasonably foreseeable that paraquat could enter the

     13        human body via absocption througli or penetration of the skin, mucous rnembranes, and other

     14        epithelial tissues, including tissues of ₹he mouth, nose and nasal passages, trachea, and conducting

     15        airways, particularly where cuts, abrasions, rasbes, so.res, or other tissue damage was present,

     16               70.     A.t all relevant times, it was reasonably foreseeable that paraquat could enter ₹he

     17        human body via respiration into the lungs, including the deep parts of the lungs tivhere respiration

     18        (gas exchange) occurred.

     19               71.     At all relevant times, it was reasonably foreseeable that paraquat could enter the

    20         human body via ingestion into the digestive tract of small droplets swallowed after entering the

    21         mouth, nose, or conducting aitways.

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                DEMAND FOR JURY TRIAL - 22                                          (.509) 252-U!1 -FAC~SIUILFi(500)32&8"AS




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      1            72.     At all relevant times, it was reasonably ftxeseeable that paraquat that entered the

      2    human body via ingestion into the digestive tract could enter the enteric nervous system (the part

      3    of tlie nervous system that governs the function of the gastrointestinal tract).

      4            73.     A.t all relevant times, it was reasonably foreseeable that paraquat that entered the

      5    human body, whether via absorption, respiration, or ingestion, could enter the bloodstream.

      6            74.     At all relevant times, it was reasonably foreseeable that paraquat that entered the

      7    bloodstream could enter th.e brain, whether through the blood-brain barrier or parts of the brain not

      8    protected by the blood-brain barrier.

      9            75.     At all relevant times, it was reasonably foreseeable that paraquat that entered the

     10    nose and nasal passages could enter the brain through. the olfactory bulb (a part of the brain.

     11    involved in tiie sense of smell), which is not protected by the blood-brain barrier.

     12 ' ~ E.     Parkinson's Disease ("PD")

     13            76.    PD is progressive neurodegenerative disorder of the brain that affects primarily the

    14     motor system, the part of the central nervous system th.at controls movement. Scientists who study

     15    PD generally agree that fewer than 10% of all PD cases are caused by inherited geiietic niutations

     16    alone, and that more than 90% are caused by a combination of environmental factors, genetic I

    17     susceptibility, and the aging process.

    18            1.      Symptoms and treatment

    19             77.    The characteristic syinptoms of PD are its "primary" motor symptoms: resting

    20     trelnor (shaking movement when the muscles are relaxed), bradykinesia (slowmess in voluntary

    21     movement and reflexes), rigidity (stiffness and resistance to passive moveinent), and postural

           instability (impaired balance). PD's primary inotor symptoms often result in "secondary" inotor

    22 I symptoms such as freezing of gait;. shrin.king. handwriting; mask-like expression; slurred,
    23



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      1   monotonous, quiet voice; stooped posture; inuscle spasms; impaired coordination; difficulty

      2   swallowing; and excess, saliva and drooling caused by reduced swallowing inovements.

      3           78.      Non=motor symptoms—such as loss of or altered sense of smell; constipation; low

      4   blood pressure on rising to stand; sleep disturbances; and depression—are present in most cases

      5   of PD, often for years before any of the primary motor symptoms appear.

      6           79.      There is currently no cure for PD. No treatment will slow, stop, or reverse its

      7   progression, and the treaunents most-cominonly prescribed for its motor symptoms tend to become

      8   progressively less effective and to cause unwelcome side effects the longer they are used.

      9           2.       Pathophysiology

     10           80.      The selective degeneration and deatli of dopaminergic neurons (dopamine-

     11   producing nerve cells) in a part of the brain called the substantia nigra pars compacta ("SNpc") is

     12   one of the primary pathophysiological hallmarks of PD. Dopamine is a neurotranslnitter (a.

     13   chemical messenger that transmits signals from one neuron to another rieuron, muscle cell, or gland

     14   cell) that is critical to the brain's control of motor function (among other things). The death of

     15   dopaminergic neurons in the SNpc decreases the production of dopamine.

     16           81.      Once dopaniinergic neurons die, they are not replaced. When enongh dopaminergic

     17   neurons have died, dopainine production falls below the level the brain requires for proper control

     18   of motor function, resulting in the motor symptoms of PD. The presence of Lewy bodies (insoluble

     19   aggregates of a protein called alplia-synuclein) in tnany ofthe remaining dopaminergic neurons in

     20   the SNpc is another of the primary• pathophysiological halhnarks of PD. Dopaminergic neurons

     21   are particularly susceptible to oxidative stress, a disturbance in the normal balance between

     22   oxidants present in cells and cells' antioxidant defenses. Scientists who study PD generally agree

     23   that oxidative stress is a major factor in—if not the precipitating cause of—the degeneration and

          death of dopaminergic neurons in the SNpc and the accuinulation of Lewy bodies in the remaining
           COMPLAINr FOR DAMAGE3 FOR PERSONAL                         LAw OFFICii OF ANDREW S. BIVIANO, PLLC
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      11I     dopaminergic neurons that are the primary pathophysiological hallmarks of PD.

      2       F.      Paraaaat's Toaicitv

      3               82.    Paraquat is highly toxic to both plants and animals. Paraquat injures and kil ls plants

      4       by creating oxidative stress that causes or contributes to cause the degeneration aiid death of plant

      5       cells. Paraquat injures and kills humans and other animals by creating oxidative stress that causes

      6       or contributes to cause the degeneration and death of animal cells. Paraquat creates oxidative

      7       stress in the cells of plants and animals because of "redox properties" that are inherent in its

      8       chemical composition and structure: it is a strong oxidant, and it readily undergoes "redox cycling"

      9       in the presence of molecular oxygen, which is plentiful in living cells.

     10               83-    The redox cycling of paraquat in living cells interferes with cellular functions that

     11       are necessary to sustain life—photosynthesis in the case of plant celis and cellular respiration in

     12       the case of anlinal cells_ The redox cycling of paraquat in living cells creates a"reactive oxygen

     13       species" known as superoxide radical, an extremely reactive molecule that can initiate a cascading

     14       series of chemical reactions that creates other reactive oxygen species that damage lipids, proteins,

     15       and nucleic acids—molecules that are essential components of the structures and functions of

     16       living cells. Because the redox cycling of paraquat can repeat indefinitely in the conditions

     17       typically present in living cells, a single inolecule of paraquat can trigger the production of

     18       countless molecules of destructive superoxide radical. Significantly, paraquat's redox properties

     19 I have been known since at least the 1930s.

     20              84.     That paraquat is toxic to the cel}s of plants and animals because it creates oxidative I

     21 I stress through redox cycling has been. known since at least the 1.960s. The surfactants added to the I

    22 I paraquat that was manufactured, distributed, and sold by Defendants, Defendants' corporate I

    23        predecessors, and others with whom they acted in concert were likely to increase paraquat's I

              toxicity to humans by increasing its ability to stay in contact with or penetrate the skin, mucous
               COMPLAINr FOR DAhfAGES POR PERSONAL                         LAW UFF1C'E OF ANnREW S. n1ViMi0, PLLC
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     1   membranes, and other epithelial tissues, including tissues of the mouth, nose and nasal passages,

     2   trachea, and conducting airways, the lungs, and the gastrointestinal tract.

     3   G.      Paraauat and Parkinson's Disease

     4           85.     The same redox properries that make paraquat toxic to plant cells and other types

     5   of animal cells make it toxic to dopaminergic neurons—paraquat is a strong oxidant that interferes

     6   with the function of, darnages, and ultiinately kills dopaminergic neurons by creating oxidative

     7   stress through redox cycling. Although PD is not known to occur naturally in any species otlier

     8   than hurnans, PD research is often performed using "anitnal models," in which scientists artifrcial ly

     9   produce in laboratory animals conditions that show features of PD. Paraquat is one of only a

    10   handful of toxins that scientists use to produce animal models of PD.

    11           86.     In animal rnodels of PD, liundreds of studies involving various routes of exposure

    12   have found that paraquat creates oxidative stress that results in the degeneration and deatli of

    13   dopaminergic neurons in the SNpc, other pathophysiology consistent with that seen in human PD,

    14   and motor defrcits and behavioral changes consistent with those commonly seen in human PD_

    15   Hundreds of in vitro studies have found that paraquat creates oxidative stress that results in tlie

    16   degeneration and death of dopaininergic neurons (and many other types of animal cells).

    17   Additionally, tnany epideiniological studies (studies of the patterns and causes of disease in

    18   defined populations) have found an association between paraquat exposure and PD, including

    19   lnultiple studies finding a two- to five-fold or greater increase in the risk of PD in populations with

    20   occupational exposure to paraquat coinpared to populations without such exposure.

    21   H.      ParaQaatRegulation

    22           87.     The Federal Insecticide, Fungicide, and Rodenticide Act ("FIFRA"), 7 U.S.C_ §

    23   136 et seq., which regulates the distribution, sale, and use of pesticides within the Uinited States,

         requires that pesticides be registered with the EPA prior to their dist.ribution, sale, or use, except
          COMPLAINT FOR DAMAGRS POR PHRSONAL                            LAw OFFICE OF ANDRF,w S. BIViANO, P[.LC
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          DEMAND FOR JURY TR1AL - 26                                           (5I19') 252-Lt11 -gACSI.WII: (509) 3:&S2tl5




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     1    as described by FIFRA. 7 U.S.C. 136a(a). As part of the pesticide registration process, the EPA

     2    requires, among otlier things, a variety of tests to evaluate the potential for exposure to pesticides,

     3    toxicity to people and other potential non-target organisms, and other adverse effects on the

     4 I environment.

     5            88.      As a general rule, FIFRA requires registrants to perform health and safety testing

     6    of pesticides- FIFRA does not, h.owever, require the EPA to perfonn health and safety testing of

     7    pesticides itself, and the EPA generally does not perform such testing.

     8            89.      The EPA registers (or re-registers) a pesticide if it believes, based largely on studies

     9 I and data submitted by the registrant, that:

    10                  a. its composition is such as to warrant the proposed claims for it, 7 U.S.C. §
                           136a(c)(5)(A);
    11
                        b. its labeling and other material required to be submitted ' comply with the
    12                     requirements of FIFRA, 7 U.S.C- § 136a(c)(5)(B);

    13                  c. it will perfonn its intended function without unreasonable adverse effects on the
                           environment, 7 U.S.C_ § 136a(c)(5)(C); and
    14
                        d. when used in accordance with widespread and commonly recognized practice it
    15                     will not generally cause unreasonable adverse effects on the environment, 7 U.S.C.
                           § 136a(c)(5)(D).
    16
                  90.      FIFRA defines "unreasonable adverse effects on the environment" as "any
    17
          unreasonable risk to man or the environinent, taking into account the economic, social, and
    18
          environmental costs and benefits of the use of any pesticide." 7 U.S.C. § 136(bb). Under FIFRA,
    19
          "[a]s long as no cancellation proceedings are in effect registration of a pesticide shall be prima
    20
          facie evidence that the pesticide; its labeling and packaging comply with the registration provisions
    21
          of [FIFRA]." 7 U.S.C. § 136a(f)(2). However, FIFRA further provides that "[i]n no event shall
    22
         I registration of an article be construed as a defeiise for the commission of any offense under
    23
         I [FIF:RA]." 7 U.S.C. § 136a(f)(2).


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           DEMAND FOR JURY TR1AL - 27                                             (509} 252—It1I -FAC'SRIILC (509} i23-S205




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      1           91.      T'he distribution or sale of a pesticide that is misbranded is an offense under FIFRA,

      2 I which provides in relevant part that "it shall be unlawful for any person in any State to distribute

      3 I or sell to any person ... any pesticide which is --. misbranded." 7 U_S.C. § 136j(a)(1)(E). A

      4 I pesticide is misbranded under FIFRA if, among other things:

      5                 a. its labeling bears any statement, design, or graph.ic representation relative thereto
                           or to its ingredients that is false or misleading in any particular, 7 U.S.C. §
      6                    136(q)(1)(A);

      7                 b. the labeling accoinpanying it does not contain directions for use which are
                           necessary for effecting the purpose for which the product is intended and if
      8                    complied with, together with any requirements imposed under Section 136a(d) of
                           the title, are adequate to protect health and the environment, 7 U-S.C. .~
      9                    136(q)(1)(F); or

     10                 c. the label does not contain a warning or caution statement that may be necessary and
                           if complied witli, togetlier with any requirements iinposed under section 136a(d) of
     11                    the title, is adequate to protect health and the environment," 7 U.S-C. §
                           136(q)(1)(G).
     12
                  92.      Plaintiff does not seek in this action to impose on Defendants any labeling or
     13
           packaging requirement in addition to or different from those required under FIFRA. Accordingly,
     14
           any allegation in this complaint that a Defendant breached a duty to provide adequate directions
     15
           for the use of paraquat or warnings about paraquat, breached a duty to provide adequate packaging
     16
           for paraquat, or concealed, suppressed, or omitted to disclose any material fact about paraquat or
     17
           engaged in any unfair or deceptive practice regarding paraquat, that allegation is intended and
     18
          should be construed to be consistent with that alleged breach, concealment, sitppression, or
     19
          omission, or unfair or deceptive practice, having rendered the paraquat "Inisbranded" under
     20
          FIFRA; however, Plaintiff brings claims and seeks relief in this action only under state Ia-.v, and
    21
          do not bring any claiins or seek any relief in this action under FIFRA.
    22

    23


            COMPLAINr POR DAMAGEs FOR PERSONAL                           LAW OFFICE OF ANDKEW S. nIVIAtVO, PI.LC
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            DEMAND FOR JURY TRiAL - 28                                               ?52-4iY I -PAc:sIMuk: (509) 32s-s^_Q5




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      1   I.     Shell Belsbv's Paraauat Exposure

      2          93.       PlaintiffMary Belsby, Personal Representative of the Estate of Sh.ell Belsby, brings

      3   this action on behalf of the Estate and the Estate's beneficiaries. Shell Belsby (DOB: 08/17/1944;

      4   SSN: ####-## 8559) was exposed to Paraquat and/or paraquat-containing products, which had

      5   been manufactured, supplied, produced, Inixed and/or placed into the stream of commerce by

      6   Defendants.

      7          94.       More specifically, beginning in or around 1968 and continuing up through

      8   approximately 1976, Shell Belsby directly handled paraquat and/or paraquat-containing products

      9   and sprayed these products using an open cab tractor while working on the family farm. This

     10   paraquat and/or paraquat-containing product was purchased at St. John Hardware & Iinplelnent

     11   Co., Inc. in or around Fairfield, Washington, and designed, manufactured, distributed and/or sold

     12   by Chevron U.S.A, CP Chernical, Syngenta and/or Syngenta AG.

     13          95.       As a direct and proximate result of this exposilre, Shell Belsby developed

     14   Parkillson's disease ("PD"), which he was diagnosed with on or about March 2017. After living

     15   with the devastating effects of PD for approximately 4 years, on June 21, 2021, Shell Belsby died.

     16   The cause of death listed on his death certificate is Parkinson's disease-

     17          96.       Critically,

     18                •   Shell Belsby had never been told by a doctor that his Parkinson's disease was or
                           could have been caused by exposure to paraquat.
     19
                       •   Shell Belsby had never read or heard of any articles in newspapers, scientific
     20                    journals, or other publications that associated Parkinson's disease with paraquat.

     21                •   Shell Belsby had never read or heard of any lawsuit alleging that paraquat causes
                           Parkinson's disease until shortly before his death.
     22
                 97.       Moreover, at no tilne when using paraquat himself was Shell Belsby avvare that
     23
          exposure to paraquat could cause any latent injury, including any neurological injury or

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      1 I Parkinson's disease, or that any precautions were necessary to prevent any latent injury that could

      2 I be caused by exposure to paraquat_

      3             98.       Tlie paraquat to which Shell Belsby was exposed was sold and used in Washington,

      4 I and was manufactured, distributed, and, on information and belief, sold by one or more of the

      5 I Defendants and their corporate predecessors and others with whom they acted in concert intending

      6 ( or expecting that it would be sold and rised in. Washington_

      7             99.       On information and belief, Shell Belsby was exposed to paraquat:

      8                   •   manufactured, distributed, and sold at different times as to each Defendant, its
                              corporate predecessors, and others with whom they acted- in concert, and not
      9                       necessarily throughout the entire period of his exposure as to any particular
                              Defendant, its corporate predecessors, and others with whom they acted in concert;
     i0
                          •   that was sold and used in Washington, and was manufactured, distributed, and sold
     11                       by SCPLLC, its corporate predecessors, and others with whom they acted in
                              concert, including Chevron Chemical, intending, or expecting that it would be sold
     12                       and used in Washington;

     13                   •   that was sold and used in Washington, and was manufactured, distributed, and sold
                              by SAG, its corporate predecessors, and others with whom they acted in concert,
     14 '                     including Chevron Chemical, intending, or expecting that it would be sold and used
                              in Washington;
     15 I
        ~
                          •   that was sold and used in Washington, and was manufactured, distributed, and sold
     16 I                     by Chevron Chemical, acting in concert with ICI and ICI Americas, intending or
                              expecting that it would be sold and used in Washington; and
     17
                          •   that was sold and used in Washington and was distributed and sold by St. John
     18                       Hardware & Implement Co., Inc.
     19                                                IV.     CLAIMS
    20              100.      Plaintiff claims liability against Defendants based upon the theories of conimon law

    21      negligence; strict product liability, negligence, and breach of express and implied warranties under

    22 I the Washington Product Liability Act (WPLA); RCW 7.72 et seq.; strict product liability under

     23 II Section 402A and 402B of the Restatement of Torts; wrongfizl death; and any other applicable


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      1   theory of liability. The liability-creating conduct of Defendants consisted of negligent and unsafe

      2   design; failure to inspect, test, `vacn, instract, monitor, and/or recall; failure to substitute safe

      3   products; marketing or installing unreasonably dangerous or extra-hazardous and/or defective

      4   products; marketing or installing products not reasonably safe as designed; and marheting or

      5   installing products not reasonably safe for lack of adequate warning and marketing or installing

      6   products with misrepresentations of product safety.

      7                                      COUNT ONE: NEGI.IGENCE

      8                                         (Against All Defendants)

      9          101.      Plaintiff repeats and realleges paragraphs 1-100 as though fulty set forth herein.

     10          102.      At all times relevant to this claim, Defendants, Defendants' corporate predecessors,

     ll   and others with whom they acted in concert were engaged in the business of designing,

     12   manufacturing, distributing, and selling herbicides; and designed, manufactured, distributed, and

     13   sold paraquat.

     14          103.      The paraquat that :Defendants, Defendants' corporate predecessors, aiid others with

     15 I whom they acted in concert designed, manufactured, distributed, and sold and to which Shell

     16   Belsby was exposed was used in the intended and directed manner or a reasonably foreseeable
        I
     17 ~! manner.

     18          104.      At all times relevant to this claim, in designing, manufacturing, packaging, labeling,

     19   distributing, and selling paraquat, and in acting in concert witli others who did so, Defendants, I

     20   Defendants' corporate predecessors, and others with wbom they acted in concert owed a duty to

     21   exercise ordinary care for the healtb and safety of the persons whom it was reasonably foreseeable

     22   could be exposed to it, including Shell Betsby.

     23          105.      When Defendants, Defendants' corporate predecessors, and others with whom they


           COMPLAINT FOR DAIb4AGFS POR PERSONAL                          LAW OFFICti OF ANDREW S. SIVIAlYO, PLLC
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          acted in concert designed, manufactured, packaged, labeled, distributed, and sold the paraquat to

      2   which Shell Belsby was exposed, it was reasonably foreseeable, and Defendants, Defendants'

          corporate predecessors, and others with whom they acted in concert knew or in the exercise of

      4   ordinary case should have known, that when paraquat was used in the intended and directed

          manner or a reasonably foreseeable manner:

                     a. it was designed, manufactured, formulated, and packaged such that it was likely
                        to be inhaled, ingested, and absorbed into the bodies of persons who used it, who
                        were nearby while it was being used, or who entered fields or orchards where it
                        had been sprayed or areas near where it had been sprayed; and

                     b. tivhen inhaled, ingested, or absorbed into the bodies of persons who used it, who
                        were nearby while it was being used, or who entered frelds or orchards where it
                        liad been sprayed or areas near where it had been sprayed, it was likely to cause or
     10                 contr.ibute to cause latent neurological damage that was both permanent and
                        curnulative, and repeated exposures were likely to cause or contribute to cause
     11                 cl.inically significant neurodegenerative disease, including PD, to develop long
                        after exposure.
     12
                 106.    In breach of the aforementioned duty to She11 Belsby, Defendants, Defendants'
     13
          corporate predecessors, and others with wholn they acted in concert negligently:
     14
                     a. failed to design, rnanufacture, formulate, and package paraquat to make it unlikely
     15                 to be inhaled, ingested, and absorbed into the bodies of persons who used it, who
                        were nearby while it was being used, or who entered helds or orchards where it had
     16                 been sprayed or areas near where it had been sprayed;

     17              b. designed, manufactured, and formulated paraquat such that when inhal ed, ingested,
                        or absorbed into the bodies of persons who used it, who were nearby while it was
     18                 being used, or who entered 6elds or orchards where it had been sprayed or areas
                        near wbere it had been sprayed, it was likely to cause or contribute to cause latent
     19                 lieurological damage that was both permanent and cumulative, and repeated
                        exposures were li.kely to cause or contribute to cause clinically signiflcant
     20                 neurodegenerative disease, including PD, to develop long after exposure;

     21              c. failed to perform adequate testing to detelmine the extent to which exposure to
                        paraquat was likely to occur through inhalation, ingestion, and absorption into the
     22                 bodies of persons wlio used it, who were nearby while it was being used, or who
                        entered fields or orchards where it had been sprayed or areas near where it had been
     23                 sprayed;



          COMPLAINT FOR DAIe4AGE5 FOR PERSONAL                       LAw OFFICE OF [\NDREw S. RIVL1lY0, PLLC
                                                                                1.1I2 N. MONROE $TA.ET, SLRTE'ii7&S
          INNRIES AND WRONGFUL DLAT11.1ND FOR                                      SPOK4NE,R'ASEIINGTON 99?OI
          DEMAND FOR 7URY TR1AL — 32                                         ('.5()9)25z-t331 -FAiSOWi.1:;(s09)336820s




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                      d. failed to perform adequate testing to deterrnine the extent to which paraquat spray
                         drift was likely to occur, including its propensity to drift, the distance it was likely
                         to drift, and the extent to which paraquat spray droplets were likely to enter the
                         bodies of persons spraying it or other persons nearby during or after spraying;

                      e. failed to perform adequate testing to determine the extent to which paraquat, when
                         inhaled, ingested, or absorbed ilito the bodies of persons who used it, who were
                         nearby while it was being used, or who entered fields or orchards wliere it had been
                         sprayed or areas near where it had been sprayed, was likely to cause or contribute
                         to cause latent neurological damage that was both permanent and cumulative, and
                         the extent to which repeated exposures were likel.y to cause or contribute to cause
                         cl.inically significant neurodegenerative disease, including PD, to develop long
                         after exposure;

                         failed to perform adequate testing to determine the extent to which paraquat, when
                         formulated or mixed with surfactants or other pesticides or used along with other
                         pesticides, and inhaled, ingested, or absorbed into the bodies of persons who used
                         it, who were nearby while it was being used, or who entered fields or orchards
     10                  wliere it had been sprayed or areas near wliere it had been sprayed, was likely to
                         cause or contribute to cause latent neurological damage that was both permanent
     11                  and cumulative, and the extent to which repeated exposures were li.kely to cause or
                         contribute to cause clinically significant neurodegenerative disease, including PD,
     12                  to develop long after exposure;

     13              g. failed to direct that paraquat be used in a lnanner that would have lnade it unlikely
                        to have been inhaled, ingested, and absorbed into the bodies of persons who used
     14                 it, who were nearby while it was being used, or who entered fields or orchards
                        where it had been sprayed or areas near where it had been sprayed; and
     15
                     h. failed to wam that when inhaled, ingested, or absorbed into the bodies of persons
     16                 who used it, who were nearby while it was being used, or who entered fields or
                        orchards where it had been sprayed or areas near where it had been sprayed,
     17                 paraquat was li.kely to cause or contribute to cause latent neurological damage that
                        was both permanent and cumulative, and repeated exposures were likely to cause
     18                 or contribute to cause clinically significant neurodegenerative disease, including
                        PD, to develop long after exposure.
     19
                 107.    As a direct and proximate result of the negligence of Defendants, their corporate
     20
          predecessors, and others with whom they acted in concert, Shell Belsby developed PD; suffered
     21
          severe and permanent physical pain, mental anguish, and disability, and continued to do so for the
     22
          remainder of his life; suffered the loss of a normal life and continued to do so for the remainder of
     23
          his l.ife; lost income that he othenvise would have earned; and incurred expenses for necessary

           COMPLAINr FOR DAMAGES POR PERSONrIL                          LAw OFFICE OF ANDREw S. B1N7MT0, PL.LC
                                                                                  1372 N. MONROE SIREE7, SULfEdi:85
           INJURIES AND WRONGTTJ[. DEATE3 AND FOR                                    SPOK4NE, R'ASEQNGTON 9.9201
           DEMAND FOR JURY TR1AL - 33                                           i5('9)?5zd311 -yACsIIDi1cE (s09) 7zs-s9Us




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      1 I medical treatment until his death.

      2              COUNT TWO: STRICT PRODUCT LIABILITY — DESIGN DEFECT

      3               (Against Defendants Chevron USA, CP Chemical, SCPLLC and SAG)

      4'           108.    Plaintiffrepeats and realleges paragraphs 1-107 as though fully set forth herein.

      5'           109.    At all relevant times, Defendants, Chevron USA, CP Chemical, SCPLLC and SAG,

      61 I their corporate predecessors, and others with whom they acted in concert were engaged in the U.S.

      7 I paraquat business.

      8            110.    At all relevant times, Defendants Chevron USA, CP Chemical, SCPLLC and SAG,

      9    their corporate predecessors, and otliers with whoin they acted in concert were engaged in the

     10    business of designing, manufacturing, distributing, and selling pesticides, and designed,

     11   I manufactured, distributed, and sold paraqtiat.

     12            l U.    The paraquat that Defendants Chevron USA, CP Cbemical, SCP.LLC and SAG,

     13    their corporate predecessors, and others with whom they acted in concert designed, manufactured,

     14    distributed, and sold and to which Shell Belsby was exposed was in a defective condition that

     15 j made it unreasonably dangerous, in that when used in the intended and directed manner or a

     16 ~ reasonably :foreseeable manner:

     17                a. it was designed, manufactured, fonnulated, and packaged such that it was likely to
                          be inhaled, ingested, and absorbed into the bodies of persons who used it, who were
     18                   nearby while itwas being used, or who entered fields or orcltards where it had been
                          sprayed or areas near where it had been sprayed; and
     19
                       b. when inhaled, ingested, or absorlied into the bodies of persons who used it, who
     20                   were nearby while it was being used, or wbo entered fields or orchards where it had
                          been sprayed or areas near where it had been sprayed, it was likely to cause or
     21                   contribute to cause latent rieurological damage that was both pennanent and
                          cumulative, and repeated exposures were likely to cause or contribute to cause
    22                    clinically significant neurodegenerative disease, including PD, to develop long
                          after exposure.
    23
                   112.   This defective condition existed in the paraquat that Defendants Chevron USA, CP

            COMPLAItvT FOR DAI<4AGRs FOR PERSONAL                       LAw bFF10E OF ANDREW S. R1ViAlYO, PLLC
                                                                                 1312 N.;NONROE S1REEr, SULfEN2S5
            INJURIGS AND WRONGFUL DLAT[i AND FOR                                   SPORANE, R'eLSFIlNGTON 99301
            DEMAND FOR JURY TR1AL - 34                                         (V19)252-~tll •gA(:SIb17LE(509)325-8°05




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          Chemical, SCPLLC and SAG, their corporate predecessors, and others witli whom they acted in

      2   concert designed, manufactured, distributed, and sold and to which Shell Belsby was exposed

      3   when it le8 the control of Defendants Chevron USA, CP.Clieinical, SCPLLC and SAG, their

      4   corporate predecessors, and others with whom they acted in concert and was placed into the stream

      5   of commerce.

      6           11.3-   As a result of this defective condition, the paraquat that Defendants Chevron USA,

      7   CP Chemical, SCPLLC and SAG, their corporate predecessors, and others with whom they acted

      8   in concert designed, manufactured, distributed, and sold and to which Shell Belsby was exposed

      9   either failed to perform in the manner reasonably,to be expected in light of its nature and intended

     10   Puncti.on, or the magnitude of the dangers outweighed its utility. The paraquat that Defendants,

     11   Defendants' corporate predecessors, and others with whom they acted in concert designed,

     12   manufactured, distributed, and sold and to which Shell Belsby was exposed was used in the

     13   intended and directed manner or a reasonably foreseeable manner.

     14           114.    As a direct and proximate result of this defective condition created by Defendants,

     15   their corporate predecessors, and others with whom they acted in concert, Shell Belsby developed

     16   PD; suffered severe and permanerot physical pain, meiital anguish, and disabil.ity, and continued to

     17   do so for the remainder of his life; suffered the loss of a nonnal life and continued to do so for the

     18   remainder of his life; lost income that he otherwise would have earned; and incuned expenses for

     19   necessary medical treatinent until his death-

     20           COU\'T THREE: STRICT PRODUCT LI:ABILITY: FAILURE TO WAR'V

     21               (Against Defendants Chevron USA, CP Chemical, SCPLLC and SAG)

     22          115.     Plaintiff repeats and realleges paragraphs 1-114 as though fuliy set forth herein.

     23          116.     At 91 tiines relevant to this claim, Defendants Chevron USA, CP Chemical,


           COMPrsUNr FOR DA14fAGrS POR PEftsONAL                        LAw OFFICE oF .ANDREw S. B1viANo, PLLC
                                                                                   i3i 2 N. MONROE S7RP.Ef, SUIIEu:S5
           INJURIGS AND WRONGFUL DLATE3 AND FOR                                       SPOK4NE, R'ASFIING7DN 99701
           DrMAND FOR JURY TRIAL - 35                                           (-SfN)?5z—i31 1 -FACY1MRli (509) 7zS-8_Os




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      1 I SCPLLC and SAG, their corporate predecessors, and others witli wliom they acted in concert were

      2 I engaged in the business of desigming, manufacturing, distributing, and selling pesticides, and

      3 I designed, manufactured, distributed, and sold paraquat.

      4           117.   When Defendants Chevron USA, CP Chemical, SCPLLC and SAG, their corporate

      5   predecessors, and otbers with whom they acted in concert designed, manufactured, di.stributed,

      6   and sold the paraquat to which Shell Belsby was exposed, Defendants Chevron USA, CP

      7   Chemical, SCPLLC and SAG, their corporate predecessors, and otbers with whoin they acted in

      8   concert knew or in the exercise of ordinary care should have known that when used in the intended

      9   and directed rnanner or a reasonably foreseeable manner:

     10              a. it was designed, manufactured, formulated, and packaged such that it was likel.y to
                        be inhaled, ingested, and absorbed into the bodies of persons who used it, who were
     11                 nearby while it was being used, or who entered fields or orchards where it had been
                        sprayed or areas near where i.t had been sprayed; and
     12
                     b- when inhaled, ingested, or absorbed into the bodies of persons who used it, who
     13                 were nearby while it was being used, or who entered fields or orchards where it had
                        been sprayed or areas near where it had been sprayed, it was likel.y to cause or
     14                 contribute to cause latent neurological dainage that was both pennanent and
                        cumulative, and repeated exposures were likely to cause or contribute to cause
     IS                 clinically sigiLificant neurodegenerative disease, including PD, to develop long
                        after exposure.
     16
                  118.   The paraquat that Defendants Chevron USA, CP Chetnical, SCPLLC and SAG,
     17
          their corporate predecessors, and others with whom they acted in concert designed, manufactured,
    18
          distributed, and sold, and to wbich Shell Belsby was exposed, was in a defective condition that
     19
          made it unreasonably dangerous when it was used in the intended and directed manner or a
    20
          reasonably foreseeable manner, in that:
    21
                     a. it was not accompanied by direchions for use that would have made it unlikely to
    22                  be inhaled, ingested, arid absorbed into the bodies ofpersons who used it, who were
                        nearby while it was being used, or who entered fields or orchards where it had been
    23                  sprayed or areas near where it had been sprayed; and



           COMPLA[Nr POR DAA4AGGs POR PERSoNAL                       . 1.AW OFFLCti oF ANDREw S. nLVLANO, PL.LC (
                                                                                31Y N. MONROE STHEE7, SUIIE ii2S5
           INJURIES AND WRONGF[JL DEATEI AND POR                                  sroKaNE, wNnvcrox evzoi
           DEMAND FOR JURY TRIAL - 36                                         (uro):sz_i3i i-r•AcsIMnis (san) 3zs-s=os




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                       b. it was not accompanied by a warning that wlien inhaled, ingested, or absorbed into
                          the bodies of persons who used it, who were nearby while it was being used, or who
                          entered fields or orchards where it had been sprayed or areas near where it had been
                          sprayed, it was likely to cause or contribute to cause latent neurological damage
                          that was both permanent and curnulative, and that repeated exposures were likely
                          to cause or contribute to cause clinically significant neurodegenerative disease,
                          including PD, to develop long after exposure.

                   11.9.   This defective condition existed in the paraquat that Defendants Chevron USA, CP

           Chemical, SCPLLC and SAG, their corporate predecessors, and others witb whom they acted in

           concert designed, manufactured, distributed, and soid, and to which Shell Belsby was exposed

      8 I when it left the control of Defendants Chevron USA, CP Chemical, SCPLLC and SAG, their

      91 ~ corporate predecessors, and others witli whom they acted in concert and was placed into the stream j.

     10 ' ! of commerce.
         ~
     l]           120.     As a result of this defective condition, the paraquat that Defendants Chevron USA,

     12 I CP Chemical, SCPLLC and SAG, their corporate predecessors, and others with whom they acted

     13 I in concert designed, manufactured, distributed, and sold and to which Shell Belsby was exposed

     14    either failed to perform in the manner reasonably to be expected in light of its nature,arid intended

     15   function, or the inagriitude of the dangers outweighed its uti.lity.

     16           121.     The paraquat that Defendants Chevron USA, CP Chemical, SCPLLC and SAG,

     17   their corporate predecessors, and others witltwbom they acted in concert designed, manufactured,

     18 I distributed, and sold and to which Shell Belsby was exposed was used in the intended and directed

     19    manner or a reasonably foreseeable manner.

     20           122-     As a direct and proximate result of the lack of adequate directions for the use of

     21   aiid warnings about the dangers of the paraquat manufactured, distributed and sold by Defendants

     22   Chevron USA, CP Chemical, SCPLLC atid SAG, their corporate predecessors, and others with

     23   whom they acted in concert, Shell Belsby developed PD; suffered severe and permanent physical



           COMPLAINT FOR DAMAGGS FOR PERSONAL                            LAW OFFICE OF ANDRF.w S. BIVIAlVO, PL1,C
                                                                                   1312 N.110NROE 3fREE7. S[.7rE $lIST          ~
           INJIJRIES AND WRONGFUL DLATn AND FOR                                      SPORANE, wASIIINcroN 99701
           DI:MAND FOR JURY TRIAL - 37                                           (Sp9) ≥R-L;I I - FAG)IAilI2i (509) )25-S:05    I




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      1   pain, mental anguish, and disability, and continued to do so for the remainder of his life; suffered

      2   the loss of a normal life and continued to do so for the reinainder of his life; lost income that he

      3 ~ otherwise would have earned; and incurred expenses for necessary medical treatment until his

      4 I death.

      5             COUNT FOUR: BREACH OF EXPRESS AND IMPLIED WARRANTIES

      6                                        (Against All Defendants)

      7            123.   Plaintiffrepeats and realleges paragraphs 1-122 as though fully set forth herein.

      8            124.   At all times relevant to this claim, Defendants, Defendants' corporate predecessors,

      9   and others with whom they acted in concert were engaged in the business of designing,

     10   manufacturing, distributing, and selling paraquat and othe.r restr.icted-use pesticides and

     11   themselves otit as having knowledge or skill regarding paraquat and other restricted-use pesticides.

     12            125.   At all times relevant to this claiin, Defendants, Defendants' corporate predecessors,

     13   and others with whom they acted in concert designed, manufactured, distributed, and sold

     14 I paraquat.

     15            126.   At the time of each sale of paraquat to which Shell Belsby was exposed,

     16 ( Defendants, Defendants' corporate predecessors, and others with whom they acted in concert

     17   expressly and iinpliedly warranted that i.t was of inerchantable quality, including that it was fit for

     18   the ordinary purposes for which such goods were used_

     19            127.   Defendants, Defendants' corporate predecessors, and others with whom they acted

    20    in concert breached this warranty regarding each sale of paraquat to which Shell Belsby was

    21    exposed, in that it was not of nierchantable quality because it was not f t for the ordinary purposes

    22    for which such goods were used, and in particular:

    23                a. it was designed, manufactured; fonnulated, and packaged such that it was likely to '
                         be inhaled, ingested, and absorbed into the bodies of persons who used it, who were I

           COMPLAINT FOR DAMA(iES POR PERSONAI,                          LAW OFEIC:F OF ANDRFW S. niVIAlNO, PLLC
                                                                                  17i? N.1f074ROE STREEC, SUrrE u:S5
           INJURIEs A\D WRONGFUL DLAT[i AND FOR                                      SPOKANE, R'ASIQNGTON 99201
           DEMAND FoR JURY TRIAL - 38                                           (.v)9)?52-I3I I -pAC:SIAIR.G (509) 3:S-S_05




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      11                         nearby while it was being used, or who entered fields or orchards where it had been
                                 sprayed or areas near wbere it haci been sprayed; and
      2 1
        I                    b. when inhaled, ingested, or absorbed into the bodies of persons who used it, who
      31                        were nearby while it was being used, or who entered fields or orchards where it had
                                been sprayed or areas near where it had been sprayed, it was likely to cause or
      41                        contribute to cause latent neurological damage that was both permanent and
                                cumulative, and repeated exposures were likely to cause or contribute to cause
      5 1                       clinicaily significant neurodegenerative disease, including PD, to develop long after
                                exposure.
      6
                          128.    As a direct and proximate result ofthese breaches of express and implied warranties
      7iI
              by Defendants, their corporate predecessors, and others with whom they acted in concert, Shell
      81
              Belsby developed PD; suffered severe and pennanent pliysical pain, mental anguish, and disability
      9 I
              for the remainder of his life; suffered the loss of a nonnallife for the remainder of his life; lost
     10'
              income that he otherwise would have earned; and incurred expenses for necessary medical
     11
          i
              treatment until his deatli.
     12 i
                                          V.      DAMAGES FOR WRONGFUL DEATH
     13 i
        I                                              (Against All Defendants)
     14
                          129-    Plaintiff repeats and realleges paragraphs 1-128 as though fully set forth herein.
     15
                          130-    Defendants' negligent, grosslynegligent and/or reckless acts and/or omissions were
     16
              a proximate cause of the wrongful deatli of Shell Belsby.
     17
                          131.    As a proximate cause of Defendants' negligence, gross negligence and/or
     18
              recklessness, Plaintiff and the statutory beneficiaries have sustained economic and non-economic
     19
              damages, including those allowed by RCW 4.20 et seq., and which include without limitation, past
     20
              and future medical expense, past aiid future lost income or earning capacity, loss of consortium,
     21
              emotional distress, grief, loss of enjoyrnent of life, inconvenience, mental anguish, the destruction
     22
              of the spousal and child-parent relationships, and pain and suffering and in amounts to be proven
     23
              at trial.

               COMPLAINT FOR DAA4AGE5 POR PERSONAL                             LAw OFFICE OF ANDREw S. BIViANO, PLLC
                                                                                          1312 N.110;VROE 57RPEr, SU[tE W1B5
               INJURIES AND WRONGFUL DEATH AND FOR                                          SPOKANE, NASlflNGTOA' 99201
               DHIvit1ND FOR JURY TR1AL - 39                                           (.u>9) 252-l311 -pAC:tiIM7LSi (509) 325-8?05




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      1 1             132.    As a proximate cause of llefendants' wrongful acts and/or oinissions, the Estate of

      2       Shell Belsby has sustained damages including, without limitation, the loss of the accumulation of
          I
      3       income and incurred medical, funeral, and burial expenses, and the conscious,pain, suffering,

      4       anxiety and fear of impending death experienced by th.e decedent, in such amounts as will be

      5       proven at the titne of trial together with interest thereon at the statutory rate from the date of death.

      6 I or the date the expenses were incurred.

      7                                          VI.     REQUESTED RELIEF

      8               133.    Plaintiff repeats and realleges paragraphs 1-132 as though fully set forth herein.

      9               134.    As a proximate result of Defendants' negligence and/or product liability andlor,

     10       other basis of liability, Shell Belsby sustained pain, suffering, and disability in an amount not now

     11       known, but which will be proven at trial. The Estate of Shell Belsby is entitled to damages for his

     12       physical pain and suffering, mental anguisb, anxiety, physical impainnent, disability,

     13       disfrgureinent, loss of enjoyment of life, his reasonable and necessary inedical biIls and otlier

     14       expenses incurred, and his wrongful death as a result of his Parkinson's disease. Shell Belsby

     15 j sustained medical expenses and economic losses i.n an amount to be proven at trial.

     16               WHEREFORE, Plaintiff prays for judgment against Defendants, jointly and severally, as

     17       follows:

     18               a. For all datnages sustained by the Shell Belsby, including the Estate and all statutorily
                         recognized beneficiaries, in amounts proven at trial, including without liinitation, all
     19                  past and future economic and non-economic darnages allowed by RCW 4.20 et seq.
                         and the common law, including the loss of the accumulation of income, incurred
     20                  inedical, funeral, and burial expenses, loss of consortium, destruction of the spousal
                         relationship, and the conscious pain, suffering, anxiety and feat of impending death
     21                  experienced by the decedent;

     22              b. Interest calculated at the maximuin amount allowable by law, including pre- and post-
                        judginent interest;
     23
                     c. A reasonable attorney's fee as allowed by law;

              COMPLAINT FOR D/il4fAGH5 POR PERSONAL                          LAw OFF1Cti OF ANDREW S. n1ViAN0, PLLC
                                                                                       1312 N. MONftOE STREE7, Sl1IiE-ii2S5
              INJURI6S AND WRONGFUL DLATIi AND POR                                       SPOK4D]E, R'ASFIINGTON 99'_01
              DHMAND FOR JuRY TfuAL - 40                                             (5091352-U1 l -R9CSIMIIk. (509) 3?&-S?05    I




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                  d. Costs and disbursements pursuant to statute;

                  e. Other damages contemplated by law in amounts to be deten-nined at trial; and

                  f. Such other relief as this Court may deem just and equ.itable.

           DATED this 12°i day of October 2021.
      51

      61
                                                       LAW OFFICE OF ANDREW S. B.IVIANO, PLLC
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                                                        ~~~~.---- %'.✓
                                                                     ~ ~~----''
      8
                                                       Andrew S. Biviano, WSBA No. 38086
      9                                                1312 N. Monroe Street, Suite #285
                                                       Spokane, WA 99201
     10                                                Phone: (509) 252-4311
                                                       Fax:(509) 328-8205
     11

     12                                                WAGSTAFF LAW FIRM
                                                       Aimee H. Wagstaff
     13                                                940 N. Lincoln Street
                                                       Denver, CO 80203
     14                                                Pbone: (303) 376-6360
                                                       Pro hac vice admission pending
     15
                                                       Counsel for Piaintiff
     16

     17

     18

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    20

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    22

    23



           COMPLAINr roR DAA4ACB.s roR PERsoNAL                       LAW OFFICF OF ANDRF.*V S. R1'V7.MlO, PLLC
                                                                                 13{2 N. MONROE 57REE7, SUiTE:Y1S5
           INJ[JRI63 AND WRONGFUL DL;AT[i AND rUR                                  SPOK4NE. R~A.SFDNG70N              l
           DEMAND FOR JURY TR1AI. - 41                                         (509) 252-1s1 I -pA(:11MtI.li (509) 32S-S?OS




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